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       WHEREFORE, the Plaintiff prays that upon final judgment he recover both

compensatory and punitive damages pursuant to Defendants several violations of State and

Federal law as well as any such additional and further relief to which this Plaintiff is

entitled.
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                                     VERIFICATION



1, Reinard Smith, hereby state:



        I.      I am the Plaintiff in this action;

        2.      I verify that the statements made in in the foregoing Complaint are true and
                correct to the best of my knowledge, information, and belief; and

        3.      I declare under penalty of perjury that the foregoing is true and accurate.
                28 U.S.C. 1746.




                                                                  Reinard Smith
                                                                  In propria persona
                                                                  46 Bellevue Terrace
                                                                  Collingswood, NJ 08108
                                                                  Phone # ( 609) 222 - 54 79
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